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                       IN THE UNITED STATES DISTRICT              COURT
                       FOR THE    EASTERN DISTRICT OF VIRGINIA
                                    Richitiond Division




BHUPINDER        SINGH,


       Plaintiff,

V.                                                                Case     No.    3:23-cv-339


HARMANPREET SINGH,             et al.,

       Defendants.




                                          ORDER


       Having considered the LETTER MOTION FOR EXTENSION OF TIME,

ECF   No.   24     (the       LETTER MOTION"),     and   the    NOTICE OF APPEARANCE,
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ECF No.     29,    the Court hereby DENIES as moot the LETTER MOTION, ECF

No.   24,   because Counsel for Defendant Kalbir Kaur,                      Mr.    Charles R.

Samuels,     properly responded in ECF No.                 29   to   the    Court's    ORDER,


ECF   No.   23.




       It   is    so   ORDERED.



                                                            /s/
                                     Robert   E.   Payne
                                     Senior United States District Judge




Richmond,        Virginia
Date: January ^ , 2025
